                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

DONQUEL PERRY
4141 S. 60th St.
GREENFIELD WI 53220
                                                            Case No.:
         v.

PRIMEFLIGHT AVIATION
7135 CHARLOTTE PIKE
SUIT 100
NASHVILLE, TN 37209
UNITED STATES OF AMERICA
______________________________________________________________________________
               Plaintiff’s Complaint for violations under Title VII; Discrimination
                                           against race
______________________________________________________________________________
Now before the Court comes the Plaintiff Donquel Perry, by and through his Attorney Ryan
Kastelic of Kastelic Law Office LLC., and states the following:
   1. Mr. Donquel Perry is an African American Male, resident of Milwaukee County and
      presently resides at 4141 S. 60th St. Greenfield WI 53220.

   2. Primeflight Aviation is a foreign business corporation with its principal office located at
      7135 Charlotte Pike Suite 100 Nashville, TN 37209

   3. The Plaintiff worked at the Milwaukee County Airport for 23 years, first under an entity
      named ITS, then SMS and then for 10 years for the Defendant. These companies are
      sister companies owned by SMS Holdings.

   4. Shortly after switching to Primeflight the Plaintiff was promoted to Supervisor. He was
      then promoted to Account Manager about 2 years prior to his termination. At this point in
      time a new manager became responsible for the Plaintiff.

   5. The new Manager, hereinafter “Manager,” began to fault the Plaintiff for incorrect
      incidents, occurrences that didn’t happen and generally applied an arbitrary level of
      scrutiny. For instance the Manager claimed that the Plaintiff was absent when he was
      present.

   6. Prior to Manager’s becoming the Plaintiff’s direct supervisor the Plaintiff worked for the
      Defendant largely without incident.

                                                1

          Case 2:17-cv-00756-NJ Filed 05/30/17 Page 1 of 2 Document 1
   7. The Manager claimed in one instant that the Plaintiff failed to perform a proper audit, that
      the Plaintiff did not pass through the appropriate number of security doors. This
      allegation resulted in the Plaintiff’s termination. After his termination Plaintiff
      videotaped his audit route to show that passing through the extra security doors was
      unnecessary and counterproductive.

   8. The Plaintiff was the third black supervisor who was terminated under this Manager
      within a period of 2 ½ to 3 years. Each Supervisor was terminated for seemingly minor
      offenses.

   9. Another employee Salvador (Hispanic) who often appeared overwhelmed and unable to
      perform his tasks received a promotion, to Aircraft Manager and a pay raise several
      months prior to the termination of the Plaintiff.

   10. Prior to his promotion to Account Manager the Plaintiff’s predecessor(white) managed
       multiple violations, significantly more severe than those of the Plaintiff before he was
       finally terminated.
Claim I: Disparate Treatment and Discriminatory Termination of Employment.
   11. The Plaintiff incorporates by reference paragraphs 1 through 10.

   12. The Defendant’s termination of the Plaintiff’s employment violated 42 USC 2000(a)(1).
Wherefore the Plaintiff requests the following relief:
   A. An award of full back pay and appropriate compensatory damages.

   B. An award of payment for emotional distress caused by the termination of the Plaintiff’s
      employment.

   C. An award of reasonable Attorneys fees and whatever other compensation that the Court
      deems just.

Dated this 30th day of May 2017.

                                                               By: s/ Ryan Kastelic_______
                                                                   Ryan Kastelic
                                                                   Attorney for the Plaintiff
                                                                   230 W. Wells St. STE 610
                                                                   Milwaukee WI, 53203
                                                                   Telephone: 414-395-0402
                                                                   Bar No. 1079772

                                                 2

           Case 2:17-cv-00756-NJ Filed 05/30/17 Page 2 of 2 Document 1
